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Western District of Tennessee

 

 

United States of America
v.
Sylvester Crawford Case No. 05-20139-Ml
ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

The defendant Was scheduled for a detention hearing on May 18, 2005; however, the
defendant is hospitalized and remains unable to appear for court. Pursuant to the Speedy Trial
Act, as set out in 18 U.S.C. § 3161(h)(3)(A), a period of excludable delay may be granted due to
the unavailability of the defendant

The detention hearing is reset to May 23, 2005. IT IS THEREFORE ORDERED that the
time period of May 18, 2005, through May 22, 2005 be excluded from the time limits imposed

by the Speedy Trial Act for trial of this case, while the defendant is hospitalized

This dIJf-é' day of May, 2005.

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UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet in compliance
with Ru1e 55 and/or Ruie 32(b) FRCrP on 5‘ 7"'(’-'0

UNITED sTATE DISTRIC COUR - WTERN D'S'TRCT OFTENNESSEE

     

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Stephen P. Hall

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Honorable J on McCalla
US DISTRICT COURT

